                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                 HATTIESBURG DIVISION


 UNITED STATES OF AMERICA,

                          Plaintiff

 SHEANDA BRYANT, et al.,
                                                               Civil Action No.
                          Plaintiffs-Intervenors
                                                               2:67-CV-2216-HSO-JCG
                          v.

 LAWRENCE COUNTY SCHOOL DISTRICT,

                          Defendant




    Plaintiffs-Intervenors’ Second Unopposed Motion to Extend the Time to Respond to
                  Defendant’s Motion to Modify Desegregation Plan and to
              Grant Expedited Consideration of Consolidation of Cited Schools



       COME NOW, Plaintiffs-Intervenors Sheanda Bryant et al. respectfully move this Court

to enter an order further extending their time to respond to the motion (ECF 23) of defendant

Lawrence County School District (“LCSD”) for 39 days, from October 25, 2021, until December

3, 2021. In support of this motion, Plaintiffs-Intervenors state as follows:

       1. LCSD seeks a significant change to the court-ordered desegregation plan that has been

in effect since 1987. Its motion is predicated on the school board of LCSD voting 3-2 in support

of a two-year plan to “completely abandon[]” and sell its historically-black middle school, to

build new facilities at another school, and to transfer almost 300 students and 30 teachers to

those newly-built facilities. (LCSD Mem. in Support of Motion to Modify, ECF 24 at 16

(existing middle school would be “completely abandoned and sold”)).
       2. LCSD filed its motion on September 10, 2021 (ECF 23), accompanied by 3

“supplements” and 17 Exhibits. (ECF 25-28, 29, 30). On September 22, 2021, this Court granted

Plaintiffs-Intervenors’ motion (ECF 31) for a four-week extension, until October 25, 2021, to file

its response. On September 27, 2021, the United States filed a response indicating that it did not

oppose LCSD’s motion to modify the desegregation plan. (ECF 32).

       3. Current counsel for the Plaintiffs-Intervenors first appeared in this case in July 2020.

(ECF 20). Although she had been involved in informal discussions on this topic with LCSD prior

to the filing of its motion, she requires additional time to collect and analyze more information

from LCSD and consult with members of the Plaintiff-Intervenor class – who themselves have

been invited to speak with LCSD’s school board.

       4. Specifically, Plaintiffs-Intervenors are currently seeking to negotiate with LCSD to

obtain records and information covering a variety of the factual claims pressed by LCSD in its

motion and accompanying memorandum through informal discovery. If those negotiations prove

unsuccessful, Plaintiffs-Intervenors may seek permission from this Court to engage in limited

discovery prior to filing their response to LCSD’s motion to modify the desegregation plan.

       5. In addition, the LCSD school board recently scheduled a meeting with members of the

class of Plaintiffs-Intervenors for October 26, 2021, to further discuss its plans to completely

abandon its historically-black middle school.

       6. Plaintiffs-Intervenors have sought consent of the other parties to this extension.

Counsel for the United States consents to this extension. Counsel for LCSD also consents to this

extension.




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       WHEREFORE, Plaintiffs-Intervenors pray that this Court grant them an extension until

December 3, 2021, to respond to the defendant’s motion or propose additional proceedings prior

to filing any response.

                                                   /s/ Shakti Belway
                                                   Shakti Belway, Esq.
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                                                   Counsel for Plaintiffs-Intervenors




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                                CERTIFICATE OF SERVICE

       I, SHAKTI BELWAY, do hereby certify that on October 19, 2021, that I electronically

filed the foregoing with the Clerk of the Court using the ECF system, which will send

notifications of such filing to counsel for plaintiff United States of America and defendant

Lawrence County School District.


                                             /s/ Shakti Belway
                                             Shakti Belway
                                             Counsel for Plaintiffs-Intervenors
